 JS-CAND44(Rev. 10/2020)
                                                                                 "3:^1
                                        Case 3:21-cv-09076-SI Document 1-1 Filed 11/22/21 Page 1 of 1
                                                                                 CIVIL COVER SHEET
 The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
 except as provided by local rules of court. This form, approved in its original form by the Judicial Conference ofthe United States in September 1974, is required for the Clerk of
 Court to initiate the civil docket sheet.(SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)

 1.(a)PLAINTIFFS                                                                                                DEFENDANTS
  George Jarvis Austin                                                                                        ABC Legal
   (b)County of Residence of First Listed Plaintiff                                                             County of Residence of First Listed Defendant
           (EXCEPTIN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

   (c) Attorneys(Firm Name, Address, and Telephone Number)                                                      Attorneys (IfKnown)




 II.        BASIS OF JURISDICTION (Place an "X" in One Box Only)                               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place cm a m One Boxfor Plaintiff
                                                                                                      (For Diversity Cases Only)                                           and One Boxfor Defendant)
                                                                                                                                            PTF        DEF                                             PTF        DEF
       1    U.S. Government Plaintiff[ )(3 /Federal Question                                          Citizen of This State                 xl           1       Incorporated or Principal Place           4        4
                                     V      (U.S. Government Not a Party)
                                                                                                                                                                 of Business In This State
                                                                                                      Citizen of Another State                 2      X2         Incorporated o/id/Principal Place         5        5
       2    U.S. Government Defendant       4     Diversity
                                                                                                                                                                 of Business In Another State
                                                (Indicate Citizenship ofParties in Item III)
                                                                                                      Citizen or Subject of a                  3         3       Foreign Nation                            6        6
                                                                                                      Foreign Country

 IV.          NATURE OF SUIT (Place an "X" in One Box Only)
             CONTRACT                                                   TORTS                                  FORFEITURE/PENALTY                            BANKRUPTCY                       OTHER STATUTES
    I lO insurance                        PERSONAL INJURY                       PERSONAL INJURY                 625 Drug Related Seizure of           422 Appeal 28 USC § 158               375 False Claims Act
    120 Marine                                                                                                      Property 21 use §881              423 Withdrawal 28 USC              376 Qui Tam (31 USC
                                        310 Airplane                        365 Personal Injury- Product
    130 Miller Act                                                              Liability                       690 Other                                    §157                            § 3729(a))
                                        315 Airplane Product Liability
    140 Negotiable Instrument                                               367 Health Care/                              LABOR                         PROPERTY RIGHTS                  400 State Reapportionment
                                        320 Assault, Libel & Slander
    150 Recovery of                                                              Pharmaceutical Personal                                                                                 410 Antitrust
                                        330 Federal Employers'                                                  710 Fair Labor Standards Act          820 Copyrights
        Overpayment Of                                                           Injury Product Liability                                                                                430 Banks and Banking
                                            Liability                                                           720 Labor/Management                  830 Patent
           Veteran's Benefits                                               368 Asbestos Personal Injury                                                                                 450 Commerce
                                        340 Marine                                                                    Relations                       835 Patent—Abbreviated New
    151 Medicare Act                                                            Product Liability
                                        345 Marine Product Liability                                            740 Railway Labor Act                        Drug Application               460 Deportation
    152 Recovery of Defaulted                                               PERSONAL PROPERTY
                                                                                                                                                                                         470 Racketeer Influenced &
                                        350 Motor Vehicle                                                       751 Family and Medical                840 Trademark
        Student Loans(Excludes                                              370 Other Fraud                                                                                                     Corrupt Organizations
                                        355 Motor Vehicle Product                                                     Leave Act                       880 Defend Trade Secrets
        Veterans)                                                           371 Truth in Lending
                                            Liability                                                           790 Other Labor Litigation                Act of 2016                    480 Consumer Credit
    153 Recovery of
                                        360 Other Personal Injury           380 Other Personal Property         791 Employee Retirement                                                  485 Telephone Consumer
        Overpayment                                                             Damage
                                                                                                                                                       SOCIAL SECURITY
                                                                                                                    Income Security Act                                                         Protection Act
       of Veteran's Benefits            362 Personal Injury -Medical                                                                                  861 HIA(1395fO
                                             Malpractice                    385 Property Damage Product                                                                                     490 Cable/Sat TV
    160 Stockholders' Suits                                                     Liability                             IMMIGRATION                     862 Black Lung (923)
                                                                                                                                                                                            850 Securities/Commodities/
    190 Other Contract
                                                                            PRISONER PETITIONS
                                                                                                                462 Naturalization                    863 DIWC/DIWW (405(g))                    Exchange
                                             CIVIL RIGHTS
    195 Contract Product Liability                                                                                    Application                     864 S SID Title XVI
                                        440 Other Civil Rights                                                                                                                              890 Other Statutory Actions
                                                                                HABEAS CORPUS                   465 Other Immigration
    196 Franchise                                                                                                                                     865 RSI (405(g))                      891 Agricultural Acts
                                  —■    441 Voting                          463 Alien Detainee                        Actions
           REAL PROPERTY          ^ X 442)EmpIoyment                        510 Motions to Vacate
                                                                                                                                                      FEDERAL TAX SUITS                     893 Environmental Matters
                                                                                                                                                                                            895 Freedom of Information
    210 Land Condemnation               443 Housing/                             Sentence                                                             870 Taxes (U.S. Plaintiff or
                                                                                                                                                          Defendant)                            Act
    220 Foreclosure                         Accommodations                  530 General
                                                                                                                                                                                            896 Arbitration
    230 Rent Lease & Ejectment          445 Amer. w/Disabilities-           535 Death Penalty                                                         871 IRS-Third Party 26 USC
                                            Employment                                                                                                       § 7609                         899 Administrative Procedure
    240 Torts to Land                                                                 OTHER
                                        446 Amer. w/Disabilities-Other
                                                                                                                                                                                                Act/Review or Appeal of
    245 Tort Product Liability                                              540 Mandamus & Other                                                                                                Agency Decision
    290 All Other Real Property         448 Education
                                                                            550 Civil Rights                                                                                             950 Constitutionality of State
                                                                            555 Prison Condition                                                                                                Statutes

                                                                            560 Civil Detainee-
                                                                                 Conditions of



©ORIGIN (Place an "X" in One Box Only)
                                                                                 Confinement



           Original                2    Removed from                3    Remanded from            4   Reinstated or               Transferred from                    Multi district              Multidistrict
           Proceeding                   State Court                      Appellate Court              Reopened                    Another District (specify)          Litigation-Transfer         Litigation-Direct File


  VI.         CAUSE OF           Cite the U. S. Civil Statute under which vou are filing (Do not cite iurisdictional statutes unless diversity):
                                  Retaliation, Discrimiation, Title VII of the Civil Rights Act
              ACTION
                                 Brief descrintion of cause:



  VII.        REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                         CHECK YES only if dern&ded iKcomplaint:
              COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                             JURY DEMAND:                    ( X Yes)            No

  VIII. RELATED CASE(S),
                                                          JUDGE                                                        DOCKET NUMBER
              IF ANY (See mstructions):

  IX.        DIVISIONAL ASSIGNM^IOT (Civil Local Rule 3-2)
  (Place an "X" in One Box Only)                  /x^AN FRANCISCO/OAKLAND                                                           SAN JOSE                           EUREKA-MCKINLEYVILLE



  DATE           11/18/2021                               SIGNATURE OF ATTORNEY OF RECORD
